                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

  UNITED STATES OF AMERICA                            )
                                                      )      1:18-cr-11
  v.                                                  )
                                                      )      Judge Mattice/Steger
  JERRY WAYNE WILKERSON,                              )
  MICHAEL CHATFIELD,                                  )
  KASEY NICHOLSON,                                    )
  BILLY HINDMON, and                                  )
  JAYSON MONTGOMERY                                   )

        GOVERNMENT’S RESPONSE TO DEFENDANTS’ MOTION (AND AMENDED
       MOTION) IN LIMINE TO PROHIBIT TESTIMONY REGARDING CO-PAYMENTS

          COMES   NOW   the United States of America by and through J. Douglas Overbey, United

  States Attorney for the Eastern District of Tennessee, and Perry H. Piper and Franklin P. Clark,

  Assistant United States Attorneys, and hereby offer this response to defendants Jerry Wayne

  Wilkerson’s (“Wilkerson”) Motion in Limine (R. 170) and Amended Motion in Limine (R. 172)

  seeking to limit testimony regarding Wilkerson’s fraudulent concealment regarding co-payments.

  The United States opposes the motion.

                                               Background

          An essential part of the scheme to defraud in this case involved recruiting customers to

  order high-priced compounded medications through the defendants. During the investigation

  stage, agents interviewed dozens of witnesses who ordered the medications. Some of those

  witnesses testified before the Grand Jury.

          The amount of money charged to the insurance company for each prescription varied.

  However, many of the prescriptions would be billed at $10,000 per order, and sometimes higher.

  Some of the prescriptions were reimbursed at close to $15,000. Furthermore, when agreeing to

  order the compounded drugs, the customers were told that there would be no cost to them. There




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  were instances where the defendants paid the co-payment to the insurance company, or where the

  pharmacy itself would waive the co-pay. It was not unusual for one customer to have his/her

  insurance billed for over $100,000 for the medications. The defendants or the pharmacies would

  ensure that the co-pay was covered (or waived). Finally, most of the customers were offered an

  inducement to order the creams; they were told that they would be participating in a study and

  would receive a payment for the study. Generally, the study fee paid to the customers amounted

  to around $100. Sometimes, the study fee was paid for each prescription.

                                             ARGUMENT

  I.     Evidence regarding Wilkerson’s fraudulent concealment regarding the co-payments
         is relevant, probative, and admissible

         The scheme to defraud in this case involved, among other things, the assurance of no out-

  of-pocket cost to the customer for the exorbitantly priced compounded medications, thus inducing

  otherwise unwilling customers to agree to ordering the items. The fact that a co-payment was not

  collected from the customer was not communicated to the insurance company. Wilkerson claims

  that this evidence should not be admitted, as this conduct, in and of itself, does not violate a state

  or federal law. (R. 172, Amended Motion, ¶ s 13-14.) However, Wilkerson overlooks the fact that

  not all underlying conduct forming the basis of a scheme to defraud must be illegal in and of itself.

  United States v. Beyer, 106 F.3d 175, 181 (7th Cir. 1997). “Acts which are themselves legal lose

  their legal character when they become elements of an unlawful scheme.” Beyer, 181. In the case

  of private insurance (Tricare does not require co-payments), the payment of the co-pay by the

  defendants, or the waiving of the co-pay by the pharmacies, may not violate any specific statute

  and therefore would not be per se illegal, but it would certainly be evidence of the scheme and

  conspiracy to defraud.




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         As the government has noted in a previous filing, for purposes of sustaining a fraud

  conviction, it does not matter who made the misrepresentation or concealment; what matters is

  that each defendant participated in a scheme to defraud in which someone misrepresented, omitted,

  or concealed a material fact. United States v. Birnie, 193 F. App’x 528, 536 (6th Cir. 2006) (We

  find that the evidence need only show that each defendant participated in a scheme to defraud that

  involved a misrepresentation of material fact). Stated another way, there is no requirement that

  any named defendant commit an overt act which is a crime, rather it is enough that one of the

  conspirators/co-defendants developed a scheme, the defendants joined, and participated in, the

  scheme/conspiracy, and that an overt act was committed in furtherance of it. Id. The overt act

  itself “need not be [] a crime,” but could be completely innocent activity. United States v. Bradley,

  917 F.3d 493 (6th Cir. 2019) (citing Braverman v. United States, 317 U.S. 49, 53, 63 S.Ct. 99

  (1942)).

         Evidence is “relevant” if it “has a tendency to make a fact more or less probable than it

  would be without the evidence; and the fact is of consequence in determining the action.” Fed. R.

  Evid. 401. During the investigation, customers who ordered creams were interviewed. None of

  the customers were initially aware of the cost of the medication. Many stated that they would not

  have ordered the medication had it required any financial commitment on their part. Evidence of

  Wilkerson’s (or other defendants’) representations regarding customers’ requirements to pay a co-

  pay, and his oftentimes paying the co-pay himself or causing the co-pay to be forgiven, while at

  the same time not communicating this fact to the ultimate victim, is most assuredly relevant to the

  presentation of his entire scheme. It is relevant to the charged fraud, highly probative of the scope

  and significance of the charged fraud, and should be admitted.




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  II.    Evidence regarding co-payments is not unduly prejudicial

         The probative value of the co-pay is strong. It shows the full nature of the scheme and the

  intent to defraud that the United States must prove beyond a reasonable doubt. Most telling

  regarding the lack of unfair prejudice is Wilkerson’s own assertion: That the conduct in and of

  itself does not violate the law. (R. 172, Amended Motion, ¶ 13.) The United States does not

  concede that Wilkerson’s claim in this regard is correct under all circumstances. Nevertheless,

  Wilkerson cannot claim that his handling of co-payments is perfectly legal and acceptable, while

  also claiming that evidence of it is unfairly prejudicial. If, as Wilkerson claims, his conduct in this

  area is totally above board and permissible, then it cannot possibly be so unfairly prejudicial as to

  substantially outweigh any probative value.

         The evidence the government seeks to introduce is directly probative of Wilkerson’s intent

  and motive. “[E]vidence that undermines one’s defense by virtue of its ‘legitimate probative force’

  does not unfairly prejudice the defendant.” United States v. Censke, 449 F. App’x 456, 467 (6th

  Cir. 2011) (quoting United States v. Schrock, 855 F.2d 327, 335 (6th Cir. 1988)). The effect of

  the evidence must not simply be prejudicial, but it must be “unfairly” so: “[u]nfair prejudice does

  not mean the damage to a defendant’s case that results from the legitimate probative force of the

  evidence; rather it refers to evidence which tends to suggest decision on an improper basis.” United

  States v. Ray, 549 F. App’x 428, 434 (6th Cir. 2013) (citing United States v. Bonds, 12 F.3d 540,

  567 (6th Cir. 1993)).




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                                           Conclusion

         For the reasons set forth above, Wilkerson’s motion in limine to prohibit testimony

  regarding the co-payments should be denied.

                                                          Respectfully submitted,

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